                                   Case 4:17-cv-00417-JM Document 1-1 Filed 06/28/17 Page 1 of 1
JS 44 (Rev. 06/17)                                                           CIVIL COVER SHEET                                                             Lf ./·tc vLf l-f
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

~a<&a ifrM~~JJ~Jl'?er Johnston; and Kimberly Ward                                                                        DEFENDANTS
                                                                                                                       Jetter{Everefts; CS Background, Inc.; and The City of Beebe,
                                                                                                                                                                                                  .
                                                                                                                       Arkansas

    (b) County of Residence of First Listed Plaintiff                  White County, Arkansas                            County of Residence ofFirst Listed Defendant                    White Coun!Y, Arkansas
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                   THE TRACT OF LAND INVOL VEO.

    ( C) Attorneys (Firm Name, Address, and Telephone Number)                                                            Attorneys (If Known)
Tayror & Taylor Law Firm, P.A.
P.O. Box 629
Little Rock, AR 72203

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                 III. CITIZENSHIP OF PRINCIPAL p ARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                    (For Diversity Cases Only)                                              and One Box for Defendant)
0 I     U.S. Government                ~ 3     Federal Question                                                                              PTF           DEF                                             PTF      DEF
           Plaintiff                             (US. Government Not a Party)                                  Citizen of This State          0            0           Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                         of Business In This State

0 2     U.S. Government                0 4     Diversity                                                       Citizen of Another State         O 2        0     2     Incorporated and Principal Place      0   s   0    s
           Defendant                             (Indicate Citizenship ofParties in Item lll)                                                                             of Business In Another State

                                                                                                                                                0 3        0     3     Foreign Nation                        0 6     0 6

IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                           Click here for: Nature of Suit Code Descri tions.
                                                                                                ,·,_'.    '·

0   110 Insurance                         PERSONAL INJURY                   PERSONAL INJURY                    0 62S Drug Related Seizure             0 422 Appeal 28 USC IS8             0 37S False Claims Act
0   120 Marine                        0 310 Airplane                     0 36S Personal Injury -                     of Property 21 USC 881           0 423 Withdrawal                    0 376 Qui Tam (31 USC
0   130 Miller Act                    0 31S Airplane Product                    Product Liability              0 690 Other                                     28 USC IS7                         3729(a))
0   140 Negotiable Instrument                 Liability                  0 367 Health Care/                                                                                               0 400 State Reapportionment
0   ISO Recoveiy of Overpayment       0   320 Assault, Libel &                 Pharmaceutical                                                                                             0 410 Antitrust
         & Enforcement of Judgment             Slander                         Personal Injury                                                        0 820 Copyrights                    0 430 Banks and Banking
0   ISi Medicare Act                  0   330 Federal Employers'               Product Liability                                                      0 830 Patent                        0 450 Commerce
0   IS2 Recoveiy of Defaulted                  Liability                 0 368 Asbestos Personal                                                      0 83S Patent - Abbreviated          0 460 Deportation
         Student Loans                0   340 Marine                            Injury Product                                                                 New Drug Application       0 470 Racketeer Influenced and
         (Excludes Veterans)          0   34S Marine Product                    Liability                                                             0 840 Trademark                             Corrupt Organizations
0   153 Recoveiy of Overpayment                Liability                  PERSONAL PROPERTY                                                                      . , D 480 Consumer Credit
                                                                                                               t::'S<'~.:=:J:;Aii!WiE:Z==t:JS~i[L!J~WrllZ•':Z:c:.]J
         of Veteran's Benefits        0   3SO Motor Vehicle              0 370 Other Fraud                     0 710 Fair Labor Standards             0   861 HIA (139Sff)                0 490 Cable/Sat TV
0   160 Stockholders' Suits           0   3S5 Motor Vehicle              0 371 Truth in Lending                         Act                           0   862 Black Lung (923)            0 8SO Securities/Commodities/
0   190 Other Contract                        Product Liability          0 380 Other Personal                  0   720 Labor/Management               0   863 DIWC/DIWW (40S(g))          Exchange
0   I 9S Contract Product Liability   0   360 Other Personal                   Property Damage                          Relations                     0   864 SSID Title XVI              0
                                                                                                                                                                                      890 Other Statutoiy Actions
0   196 Franchise                             Injury                     0 38S Property Damage                 0   740 Railway Labor Act              0   86S RSI (40S(g))                0
                                                                                                                                                                                      891 Agricultural Acts
                                      0   362 Personal Injury -                Product Liability               0   7SI Family and Medical                                                 0
                                                                                                                                                                                      893 Environmental Matters
                                              Medical Mal       rice                                                    Leave Act                                                         0
                                                                                                                                                                                      895 Freedom oflnfonnation
[": '.:'·:Z::B:Uidi.iiiii'.iifi·t·'··~":. J,.~.~,. ;:.. :;::.,:gillj~12Jiiiir:~:rllii!iiil[fiiiiii:miO D           790 Other Labor Litigation         l:J:iiiiii~~ijWjji·:z,.:;•-a'       Act
0   210 Land Condemnation             Ill: 440 Other Civil Rights           Habeas Corpus:                     0   791 Employee Retirement             0 870 Taxes (U.S. Plaintiff  0 896 Arbitration
0   220 Foreclosure                   0 441 Voting                       0 463 Alien Detainee                          Income Security Act                   or Defendant)          0 899 Administrative Procedure
0   230 Rent Lease & Ejectment        0 442 Employment                   0 510 Motions to Vacate                                                       0 871 IRS-Third Party              Act/Review or Appeal of
0   240 Torts to Land                 0 443 Housing/                           Sentence                                                                      26 USC 7609                  Agency Decision
0   24S Tort Product Liability              Accommodations         0 S30 General                                                                                                    0 9SO Constitutionality of
0   290 All Other Real Property       0 44S Amer. w/Disabilities - 0 53S Death Penalty                                                                                                    State Statutes
                                              Employment                    Other:                             0 462 Naturalization Application
                                      0 446 Amer. w/Disabilities - 0        S40 Mandamus & Other               0 465 Other Immigration
                                            Other                  0        550 Civil Rights                           Actions
                                      0 448 Education              0        SSS Prison Condition
                                                                   0        S60 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
V. ORIGIN (Placean             "X"inOneBoxOnly)
Ja: I   Original          0 2 Removed from                   0    3     Remanded from                    0 4 Reinstated or        0 5 Transferred from                 0 6 Multidistrict              0 8 Multidistrict
        Proceeding            State Court                               Appellate Court                      Reopened                 Another District                     Litigation -                   Litigation -
                                                                                                                                          (specify)                        Transfer                       Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional staJutes unless diversity):
VI. CAUSEOFACTION~4~2~U~.S~.~~~·~.~
                                  19~8~3~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                            Bnef descnpbon of cause:
                                             Defendants violated Plaintiffs ri hts.
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                            DEMAND$                                           CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                                    JURY DEMAND:         ~Yes       ONo
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                                                                                                                              DOCKET NUMBER

 DATE~;- JIP-             /'7
 FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                        APPL YING IFP                                         JUDGE                                   MAG.JUDGE
